Case 1:03-cV-01238-.]DB-tmp Document 34 Filed 07/08/05 Page 1 of 3 Page|D 57

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UNITED sTA TES DISTRICT COURT L,`,_ n °' §§ §
WESTERN DISTRICT 0F TENNESSEE " JJ/z ca ‘

EASTERN DIVISION

  

 

‘ `c./r'~'f
JOHN L. WILLIAMS, JUDGMENT IN A CIVIL CASi§:

Plaintiff,
v.

CORRECTIONS CORPORATION CASE NO: 1:03-]238-B
OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

AP ROVED:

 

  
  

ANIEL BREEN \

N TED STATES DISTRICT COURT
THCMAS M. GOULD

Clerk of Court

wind

(By) Deputy Clerk

This document entered on 'che docket sheet in compiience

with nine ss and:or_rs (a) FRcP on 07~[[ ~ 05

 

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Case 1:03-cV-01238-.]DB-tmp Document 34 Filed 07/08/05 Page 3 of 3 Page|D 59

Honorable .1. Breen
US DISTRICT COURT

